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 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE
 7   UNITED STATES OF AMERICA,
 8                 Plaintiff,                            Case No. CR05-270L
 9          v.                                           ORDER DENYING DEFENDANT
10                                                       SESS MERKE’S APPLICATION FOR
     COLUMBIA MEDICAL SYSTEMS, INC.,                     RULE 17(c) SUBPOENA DUCES
11   PHU NGUYEN, TUYET NGUYEN, and                       TECUM
     SESS MERKE,
12                 Defendants.
13
14        This matter comes before the Court on “Defendant Sess Merke’s Application for Rule

15 17(c) Subpoena Duces Tecum” (Dkt. # 58). The Court finds that Merke’s application for
16 subpoena is not adequately supported by the arguments contained therein. Merke relies
17 exclusively on United States v. Nixon, 418 U.S. 683 (1974). Nixon involved a special
18 prosecutor’s efforts to overcome the assertion of executive privilege by the defendant and sitting
19 president, Richard M. Nixon. These facts are unique and bear no relation to the circumstances
20 in the instant action. For this reason, IT IS HEREBY ORDERED that defendant’s application is
21 DENIED.
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          DATED this 15th day of February, 2006.
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25
                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge
26
     ORDER DENYING DEFENDANT SESS
     MERKE'S APPLICATION FOR RULE 17(c)
     SUBPOENA DUCES TECUM
